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                  Exhibit 1b
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https://tulsaworld.com/news/local/education/audio-from-tps-implicit-bias-training-was-a-voice-reading-
presentation-slides-verbatim/article_140cabde-1524-11ed-b809-1f6eb7ac6c64.html


TOP STORY



Audio from TPS implicit bias training was a voice reading
presentation slides verbatim
Lenzy Krehbiel-Burton
Aug 7, 2022



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             he audio from an implicit bias training session deemed to be in violation of a
             state law meant to limit instruction on race and gender is a recording of a male
  voice reading text verbatim from a visual presentation.

  A review of a copy obtained by the Tulsa World late Friday shows that concepts
  covered in the 18-minute course offered to Tulsa Public Schools employees through a
  third-party vendor include:

            Acknowledging that implicit biases can bring about uncomfortable feelings and
            expose unwanted or unintentional negative beliefs.
            Asking teachers to be aware of their own racial, ethnic and cultural backgrounds
            and how they affect their perceptions.
            Asking teachers to review students’ academic and behavioral data for gaps by
            race, socioeconomic status and gender.
            Explaining the difference between fact and opinion while avoiding imposing
            personal values in the classroom.



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According to Tulsa Public Schools, participants took the online class at their own
pace without a live instructor.

In both his remarks to the State Board of Education in June and July, as well as his
July 7 letter to both the complaining teacher and TPS, Oklahoma State Department of
Education general counsel Brad Clark said that while the visual slides from the
August 2021 course were not problematic, the audio from the presentation violated
the spirit, if not the letter, of House Bill 1775.

That in turn prompted the State Board of Education to vote 4-2 on July 28 to accredit
TPS with a warning for the 2022-23 school year, despite not having heard the
recording for themselves.

The Tulsa World's access to the session in question was limited to note-taking and
does not extend to republication.


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Although TPS confirmed that the audio is what was provided to the Oklahoma State
Department of Education for its investigation, a spokesman for the department said
Friday night that the audio reviewed by department’s legal office was not a verbatim
reading of the slides.

Adopted in 2021, HB 1775 prohibits teaching that one race or sex is inherently
superior to another. It also prohibits causing a student to feel guilty or uncomfortable
because of their race or gender, as well as teaching that anyone is inherently racist,
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sexist or oppressive, whether consciously or otherwise.

Under the law and administrative rules previously approved by the State Board of
Education, a violation of that law is considered a deficiency with respect to
accreditation.

TPS was one of two districts statewide to be accredited with a warning due to a
violation of HB 1775. The other district, Mustang Public Schools, self-reported an
investigation and violation after the board’s June 23 meeting, prompting the
Oklahoma State Department of Education to originally recommend that it be
accredited with one deficiency.

TPS came under scrutiny after a science teacher from Memorial High School filed a
written complaint with the State Department of Education in February, claiming that
the training had a section that “includes statements that specifically shame white
people for past offenses in history, and state that all are implicitly racially biased by
nature.”

The session’s slides and audio reviewed by the Tulsa World refer to implicit bias as a
universal, widespread phenomenon and state that education and other systems were
originally built for populations that “are vastly different than those that attend our
schools today.”

In a section on valuing diversity, the slides and audio include a statement that
“because our culture has shifted from one predominantly designed around White,
middle-class systems to one that is much more multi-cultural, we can no longer
assume every child will respond to the same strategies.”

Additionally, both also reference nationwide racial statistics for school suspensions
and note that racial bias is implicated as a contributing factor for disproportionately
higher suspension rates among Black, Hispanic and Alaska Native students.
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In a statement issued Saturday afternoon, Oklahoma State Department of Education
Executive Director of Communications Rob Crissinger said that while some of the
language in HB 1775 could be left open to interpretation, the department still
maintains that the training session broke the law.

“While the OSDE stands by its conclusion that the training presentation violated
House Bill 1775, it is clear that the audio recording, which was reviewed weeks after
review of the slide-deck, had a greater impact on the agency’s review team," he said.
"The concepts put forth, regardless of whether read or heard, violated the spirit of
that law.

“As stated previously by OSDE’s general counsel, the decision was a ‘close call’ and, as
such, recommended a deficiency for the school district as required, not the decidedly
more severe penalty imposed by the State Board of Education in a 4-2 vote. This
instance underscores how the vague language of HB 1775 invites imprecise
judgement calls, which in turn can have a chilling effect on classroom instruction.”

Meanwhile, in a letter separately obtained Friday evening, TPS Superintendent
Deborah Gist formally asked the State Board of Education to reconsider its decisions
not only to downgrade TPS’ accreditation but also to accept the State Department of
Education's finding that the district violated HB 1775.

TPS school board President Stacey Woolley sent a similar letter to the state
school board earlier in the week. When reached Friday night, Woolley she had not
heard the training session’s audio when she made her request for reconsideration.

In her letter, Gist referred to the state board’s decision as arbitrary and capricious, in
part because its members did not have access to the audio from the training.

Citing a limited access agreement with the third-party vendor, the audio was not
provided to state school board members at the July 28 meeting. That in turn
prompted an objection from Tulsa-based state board member Carlisha Williams
Bradley, one of two board members who voted against demoting TPS’ accreditation
status.
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“It is clear the OSDE erred in this determination because — from the beginning of the
training video to the end — the written language on the slides and the words heard in
the audio are identical,” Gist wrote. “Stated another way, because the OSDE found
that there was no violation of HB 1775 in the slides, it is factually impossible for the
audio to be unlawful.

“While it is frustrating that the state department misconstrued the message in the
training and also heard audio that is no different from the words on the slides, it is
entirely unacceptable for such a misunderstanding to be the basis for its issuance of
an accreditation deficiency of any kind. It is even more egregious and outrageous for
the State Board of Education to take the additional step of escalating the penalty to an
accreditation warning without having seen or heard any of the training or even
request the ability to view it.”



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over HB 1775 violation


Featured video: Education Board adopts temporary rules on
teaching race, gender in Oklahoma public schools

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